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                 EXHIBIT 6
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                                                                       Page 1
              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                 SAN FRANCISCO DIVISION



__________________________________

WAYMO LLC,                                )

                Plaintiff,                )

  vs.                                     )   Case No.

UBER TECHNOLOGIES, INC.;                  )   17-cv-00939-WHA

OTTOMOTTO, LLC; OTTO TRUCKING LLC, )

             Defendants.           )
___________________________________)


 HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL'S EYES ONLY



      VIDEOTAPED DEPOSITION OF JENNIFER HAROON

                San Francisco, California

                Wednesday, July 26, 2017

                          Volume I



Reported by:

MARY J. GOFF

CSR No. 13427

Job No. 2664313



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                                                                        Page 207
1        Q      And do you recall



                                                                        05:17:56

4        A      I don't.    I mean -- yeah.                             05:17:59

5        Q      Is it fair to say it would have been                    05:18:06

6    whatever                                                           05:18:07

7        A      That's --                                               05:18:10

8               MS. BAILY:   Object to form.                            05:18:10

9        A      -- fair to say.    Sorry.   That's likely.              05:18:11

10       Q      Okay.   Is there a possibility that there               05:18:14

11   would have been

                                                                        05:18:22

13              MS. BAILY:   Object to form.                            05:18:26

14       A




                                                                        05:18:53

21       Q      Do you recall

                                                                        05:18:59

23              MS. BAILY:   Object to form.                            05:19:00

24       A      I don't -- I mean, what would you                       05:19:04

25   describe -- what would you call significant?                       05:19:13
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                                                                        Page 209
1        A     No.                                                      05:20:35

2        Q     Okay.

                                                                        05:20:43

4        A     That's correct.                                          05:20:48

5        Q     Who in the self-driving team was the --                  05:20:48

6    within the self-driving team, was there a principal                05:20:50

7    point of contact with                                              05:20:53

8        A     I would say Chris.                                       05:21:01

9        Q     Anybody else?                                            05:21:04

10       A     Myself.                                                  05:21:05

11       Q     And then who were your contacts --                       05:21:11

12   contacts at                                                        05:21:13

13       A     So the primary -- the lead was a gentleman               05:21:21

14   named    .    And I can't remember his last name.      And         05:21:23

15   I don't remember the name of his team members.                     05:21:28

16       Q     Do you remember anybody else from

                                                                        05:21:31

18       A     No.   There were at least two other people.              05:21:32

19       Q     Okay.    And can you describe what -- what               05:21:37

20                     did as part of this process?                     05:21:47

21       A     So you know,




                                                                        05:22:12
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                                                                      Page 210
1




                                                                      05:22:54

9      Q     Okay.    Do you recall

                                                                      05:23:07

11     A     I don't recall




                                                                      05:23:28

15     Q     Do you recall any others?                                05:23:39

16     A     Not off the top of my head.                              05:23:43

17     Q     How was                                                  05:23:44

18           MS. BAILY:    Object to form.                            05:23:45

19     A




24     Q     And by

                                   ; is that correct?                 05:24:15
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                                                                      Page 212
1




                                                                      05:26:14

9      Q        And so as a result of all this work,




                                                                      05:26:31

13              MS. BAILY:   Object to form.                          05:26:33

14     A        I don't --




                                                                      05:26:56

18     Q        Do you recall

                                                                      05:27:00

20              MS. BAILY:   Object to form.                          05:27:02

21     A        I don't remember




24              THE COURT REPORTER:   Did you say "

           B?                                                         05:27:25
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                                                                        Page 213
1        A                                                              05:27:27

2        Q       (BY MR. TAKASHIMA) What methodology did                05:27:29

3    the Google side use to                                             05:27:31

4                MS. BAILY:   Object to form.                           05:27:37

5        A       In the meetings that I had with them,




                                                                        05:28:47

19       Q       Do you recall

                                                                        05:28:49

21       A       I don't remember



             .                                                          05:29:01

24       Q       Do you recall any others?                              05:29:02

25       A       Unfortunately not.                                     05:29:04
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                                                                        Page 216
1        A     On the Waymo side, John Krafcik and our                  05:31:38

2    CFO, Ger, once he had joined.      And Kevin Vosen, our            05:31:46

3    GC, once he had joined.     And in the beginning,                  05:31:57

4    myself and Anne Widera on my team.                                 05:32:00

5        Q     Anybody else?                                            05:32:09

6        A     Not that I can think of.                                 05:32:14

7        Q     Okay.   And then on the -- the Google or                 05:32:17

8    Alphabet side?                                                     05:32:18

9        A                                       And there              05:32:20

10   were other members of the Corp dev team, but I don't               05:32:27

11   remember their names.                                              05:32:31

12       Q     Again, was         running day-to-day on the             05:32:33

13   Google side?                                                       05:32:36

14             MS. BAILY:    Object to form.                            05:32:37

15       A     Yes.                                                     05:32:39

16       Q     Okay.   And who was handling the day-to-day              05:32:39

17   on the Waymo side?                                                 05:32:41

18       A     I would say that would be our CFO.                       05:32:50

19       Q     Okay.



                                                 , no.                  05:33:01

22       Q     Okay.   Do you know

                                                                        05:33:12

24             MS. BAILY:    Object to form.                            05:33:13

25       A     I do not.                                                05:33:15
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                                                                        Page 217
1        Q       Do you know what

                                                                        05:33:18

3                MS. BAILY:   Object to form.                           05:33:20

4        A       I do not.                                              05:33:21

5        Q       Okay.   Do you know what

                                                                        05:33:23

7        A       I do not.                                              05:33:24

8        Q       Okay.   And you said that -- I believe                 05:33:25

9

              is that correct?                                          05:33:31

11       A       No.   That was it --                                   05:33:33

12       Q       Okay.                                                  05:33:34

13       A       --                                                     05:33:34

14       Q                                                              05:33:35

15       A       That's right.                                          05:33:41

16       Q       Okay.                                                  05:33:41

17               MR. TAKASHIMA:   Okay.   That concludes my             05:34:07

18   questioning, and I will pass it to counsel for Otto                05:34:08

19   trucking.                                                          05:34:14

20         EXAMINATION BY COUNSEL FOR THE DEFENDANT                     05:34:15

21   BY MR. JENNINGS:                                                   05:34:33

22       Q       I just have a few questions.     I'll keep             05:34:44

23   this pretty short.      Going back to our conversation             05:34:46

24   about the Chauffeur Award -- I think it was in                     05:34:48

25   Exhibit 1137 -- I don't know if you'll need to refer               05:34:51
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